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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
TOWER HEALTH, f/k/a READING                       :
HEALTH SYSTEM, et al.,                            : No. 5:19-cv-02782-EGS
                                                  :
                Plaintiffs,                       :
                                                  :
                        v.                        :
                                                  :
CHS/COMMUNITY HEALTH SYSTEMS,                     :
INC., et al.,                                     :
                                                  :
                Defendants.                       :
                                                  :

             PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION
     TO EXCLUDE DEFENDANTS’ PROPOSED EXPERT TESTIMONY AT TRIAL

I.    INTRODUCTION

       The requirements of admissible expert testimony under Rule 702 are well settled: (1) the

expert must be sufficiently qualified, (2) the expert’s opinion must be reliable, and (3) the

expert’s opinion must address the facts at issue in the case. Here, four of the experts designated

by Defendants (“CHS”) fall short of satisfying these requirements, and the Court should grant

Plaintiffs’ motion to exclude these four experts from presenting expert opinion testimony at trial.

       As summarized below, the deficiencies in the four experts’ opinions are not minor issues

that can be addressed through cross examination. Instead, they are systemic flaws that wholly

undercut any probative value in their opinions.

       Hubert Worrell. CHS designated Hubert Worrell to respond to the remediation

recommendations of Plaintiffs’ (“Tower Health”) expert Jensen Hughes concerning the sprayed

fire resistive material (“SFRM”) at Pottstown Hospital. Unfortunately for CHS, Mr. Worrell

lacks the relevant experience necessary to present opinion as to the method of remediation

required; in fact, he admitted during his deposition that his experience is limited to physically


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applying SFRM based on the recommendations of others, not analyzing how to remediate the

issue. In contrast to the engineers at Jensen Hughes, Mr. Worrell does not have a specialized

degree in fire protection engineering, and instead did not complete his college history /

philosophy degree. Additionally, Mr. Worrell’s opinions are not sufficiently reliable. He

presents purely speculative opinions and does not utilize a scientifically-recognized

methodology. Because he does not have the relevant qualifications and presents a wholly

speculative theory of remediation lacking any foundation, his opinion is irrelevant.

       Craig Hofmeister. CHS designated Mr. Hofmeister as both an affirmative expert and a

rebuttal expert to address Pottstown Hospital’s compliance with NFPA 101, 2012 edition. In

rendering his opinions, however, Mr. Hofmeister makes broad conclusions while ignoring the

actual facts developed in discovery in this case. He also relies on a “temporary interim

amendment” to the 2013 edition of NFPA 101A—that another CHS expert proposed to the

NFPA three years after Tower Health purchased Pottstown Hospital on October 1, 2017.

Moreover, and perhaps even more fatal to his conclusions, this proposed amendment has not

been adopted by CMS, the Pennsylvania Department of Health (the “DOH”), or the Joint

Commission and is, therefore, irrelevant to whether compliance can be achieved. As a result, his

“opinion” concerning compliance is nothing more than a hypothetical scenario and in no way

helpful to the Court.

       John Galassini. CHS designated Mr. Galassini as a rebuttal expert witness to respond to

the opinions of Tower Health’s construction expert, Robert Miller. Here again, Mr. Galassini’s

opinions fail both the reliability and fit requirements. Among other things, Mr. Galassini failed

to engage an architect to determine whether his conceptual design complied with code

requirements and ignored the opinions of Tower Health’s architect, notwithstanding his



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deposition admission that if he were handling this assignment outside of litigation, he would

follow an architect’s recommendations. Additionally, his cost estimate is entirely speculative

because he relies on his own assumptions and subjective belief, without independently verifying

that his opinions would even pass muster by the DOH or local code officials.

        Sean Kruskol. CHS presented Sean Kruskol purportedly as a rebuttal expert to address

the conclusions of Tower Health’s financial accounting expert (Paul Pocalyko) that CHS

breached its representations and warranties in Section 3.4 of the APA. In Section 3.4, CHS

promised Tower Health that certain historical financial statements of Pottstown Hospital (not the

financial statements of any parent or holding company of CHS) were prepared in accordance

with GAAP, presented fairly in all material respects the financial condition of the hospital, and

that all material liabilities of any nature were disclosed on the schedules to the APA. Rather than

directly address the Pottstown Hospital financial statements or Mr. Pocalyko’s opinions,

however, Mr. Kruskol instead opined on the preparation of the financial statements of

Community Health Systems, Inc. (“CHSI”), CHS/Community Health Systems, Inc.’s parent

company. His opinion has no relevance at all to any issues in the case.

        Therefore, as more fully discussed below, the Court should exercise its discretion and

preclude these four witnesses from presenting expert testimony at trial.

II.    FACTUAL BACKGROUND

       This lawsuit involves claims by Tower Health against CHS for its breaches of the parties’

asset purchase agreement (the “APA”) pursuant to which Tower Health bought five hospitals,

including Pottstown Hospital.1




1
 Tower Health incorporates herein the Factual Overview from its motion for partial summary judgment. [Doc.
No. 106].

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       As the Court is aware, a primary issue in this case is that, as of October 1, 2017,

Pottstown Hospital was not in compliance with its regulatory requirements, state licensing

requirements, and the Medicare/Medicaid conditions of participation, as CHS represented and

warranted to Tower Health. Another key issue in this case involves CHS’s breach of its

representations and warranties in Section 3.4 of the APA, because Pottstown Hospital’s historical

financial statements were not prepared in accordance with GAAP and because CHS did not

disclose the material contingent liability associated with the extensive remediation work

necessary to bring Pottstown Hospital into compliance to Tower Health, as required.

       As fully discussed in Tower Health’s opposition to CHS’s motion to exclude [Doc.

No. 148], the parties each designated multiple experts. Tower Heath produced affirmative expert

reports from six experts to address the non-compliance of Pottstown Hospital with the

NFPA 101, 2012 life safety requirements (William Koffel and David Major), the methods to

remediate the non-compliant conditions (Arthur Parker of Jensen Hughes), and the extensive

costs to do so (Robert Miller). Additionally, Tower Health produced an expert report (Paul

Pocalyko) to address CHS’s breaches of Section 3.4 of the APA concerning Pottstown Hospital’s

financial statements and to calculate the damages to Tower Health resulting from CHS’s non-

disclosures.

       Relevant to this motion, CHS presented a rebuttal expert report from Hubert Worrell to

respond to the methodologies proposed by Mr. Parker to fix the non-compliant condition of

Pottstown Hospital, specifically focusing on the SFRM. It also presented an affirmative expert

report and a rebuttal report from Craig Hofmeister that discussed the compliance of Pottstown

Hospital with applicable life safety requirements, including Pottstown Hospital’s ability to

achieve compliance through an equivalency. CHS served a rebuttal expert report of John



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Galassini to respond to Mr. Miller’s opinions on the costs of remediation. And, CHS served a

rebuttal expert report of Sean Kruskol, ostensibly to respond to Mr. Pocalyko’s opinions

concerning CHS’s breach of Section 3.4 of the APA.

       Each of these four experts should be precluded from presenting their opinions at trial

because they fail to satisfy one or more of Rule 702’s requirements.

III.   LEGAL STANDARD

       Federal Rule of Evidence 702 governs the admissibility of expert testimony:

                A witness who is qualified as an expert by knowledge, skill, experience,
                training, or education may testify in the form of an opinion or otherwise if:

                (a) the expert’s scientific, technical, or other specialized knowledge will
                    help the trier of fact to understand the evidence or to determine a fact
                    in issue;

                (b) the testimony is based on sufficient facts or data;

                (c) the testimony is the product of reliable principles and methods; and

                (d) the expert has reliably applied the principles and methods to the facts
                    of this case.

Fed. R. Evid. 702.

       The Court acts as a gatekeeper to ensure that expert testimony meets the exacting

requirements of Rule 702. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993);

Karlo v. Pittsburgh Glass Works, LLC, 849 F.3d 61, 80 (3d Cir. 2017). This role is important

even in bench trials, like this one. UGI Sunbury LLC v. A Permanent Easement for 1.7575

Acres, 949 F.3d 825, 832 (3d Cir. 2020). The district court’s gatekeeping function extends

beyond scientific testimony to “testimony based on technical and other specialized knowledge.”

ID Sec. Sys. Can., Inc. v. Checkpoint Sys., Inc., 198 F. Supp. 2d 598, 601-02 (E.D. Pa. 2002)

(quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999)).




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        Guided by Daubert, the Court must consider three substantive restrictions before

admitting expert testimony: (1) the qualification of the expert; (2) the reliability of the expert’s

opinion or testimony; and (3) the fit of the expert’s opinion or testimony to the facts at issue. See

Elcock v. Kmart Corp., 233 F.3d 734, 741 (3d Cir. 2000). “Rule 702 contains no exception to

these requirements, so if they are not satisfied, an expert cannot testify before the ‘trier of fact.’”

UGI Sunbury, 949 F.3d at 832. These restrictions go hand-in-hand with the three duties of a trial

judge as the gatekeeper: the Court must:

                (1) confirm the witness is a qualified expert; (2) check the
                proposed testimony is reliable and relates to matters requiring
                scientific, technical, or specialized knowledge; and (3) ensure the
                expert’s testimony is “sufficiently tied to the facts of the case,” so
                that it “fits” the dispute and will assist the trier of fact.

Id. (citing Daubert, 509 U.S. at 591).

        Courts have “latitude” to decide “how” to apply these requirements. See Kumho Tire,

526 U.S. at 152. However, the Court cannot “‘abandon the gatekeeping function’ or ‘perform

the function inadequately. Rather, it is discretion to choose among reasonable means of

excluding expertise[.]’” UGI Sunbury, 949 F.3d at 832. “[T]he failure to conduct any form of

‘assessment’ of an expert and the proposed testimony before admitting the testimony is an abuse

of discretion.” Id. (quoting Daubert, 509 U.S. at 592-93).

        “The party offering the expert testimony has the burden of establishing that the proffered

testimony meets each of the three requirements by a preponderance of the evidence.”

Checkpoint Sys., Inc., 198 F. Supp. 2d at 602 (citing Padillas v. Stork-Gamco, Inc., 186 F.3d

412, 418 (3d Cir. 1999)). Under Daubert and Rule 702, “[p]roponents of expert testimony do

not have to prove their case twice—they do not have to demonstrate to the judge by a

preponderance of the evidence that the assessments of their experts are correct, they only have to



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demonstrate by a preponderance of evidence that their opinions are reliable.” In re DVI, Inc.

Sec. Litig., No. 03-5336, 2014 WL 4636301, at *5 (E.D. Pa. Sept. 16, 2014) (emphasis original)

(citing Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994)). Thus, Daubert “focuses on

principles and methodology, not on the conclusions generated by principles and methodology.”

In re TMI Litig., 193 F.3d 613, 665 (3d Cir. 1999).

        Nevertheless, “trial courts must guard against ‘expertise that is fausse and science that is

junky.’” UGI Sunbury, 949 F.3d at 829. The Third Circuit cautions that an expert opinion is

properly excluded if “there is simply too great a gap between the data and the opinion proffered.”

Oddi v. Ford Motor Co., 234 F.3d 136, 146 (3d Cir. 2000) (quotations omitted). In short, proper

expert testimony requires “more than a haphazard, intuitive inquiry” and well more than an

expert’s ipse dixit. Id. at 156, 158 (affirming exclusion of experts); see also Furlan v. Schindler

Elevator Corp., 864 F. Supp. 2d 291, 298-99 (E.D. Pa. 2012) (granting Daubert motion for

expert’s lack of reliability and failure to set forth a valid methodology); Pappas v. Sony

Electronics, Inc., 136 F. Supp. 2d 413, 426 (W.D. Pa. 2000) (excluding expert because “the only

evidence in this case to validate Brugger’s method is Brugger’s own claim that this method is

reliable”).

        A. Qualifications

        First, the trial judge must “confirm the witness is a qualified expert.” UGI Sunbury, 949

F.3d at 832. Expert qualification “refers to the requirement that the witness possess specialized

expertise.” Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003).

The Third Circuit has “interpreted this requirement liberally, holding that a broad range of

knowledge, skills, and training qualify an expert.” Id. However, it is not enough for the witness

to be generally qualified in certain areas; rather, “Rule 702 requires the witness to have



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‘specialized knowledge’ regarding the area of testimony.” See Betterbox Commc’ns Ltd. v. BB

Techs., Inc., 300 F.3d 325, 335 (3d Cir. 2002) (emphasis added).

        B. Reliability

        Second, the trial judge must “check the proposed testimony is reliable and relates to

matters requiring scientific, technical, or specialized knowledge . . . .” UGI Sunbury, 949 F.3d at

832. The Third Circuit has “made clear” that “the reliability analysis required by Daubert

applies to all aspects of an expert’s testimony: the methodology, the facts underlying the expert’s

opinion, and the link between the facts and the conclusion.” ZF Meritor, LLC v. Eaton Corp.,

696 F.3d 254, 290 (3d Cir. 2012). “The objective of that requirement is to ensure the reliability

and relevancy of expert testimony. It is to make certain that an expert, whether basing testimony

upon professional studies or personal experience, employs in the courtroom the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field.”

Kumho, 526 U.S. at 152.

        To meet the reliability requirement, the “expert’s opinion must be based on the ‘methods

and procedures of science’ rather than on ‘subjective belief or unsupported speculation’; the

expert must have ‘good grounds’ for his or her belief.” Paoli, 35 F.3d at 742 (“As long as an

expert’s scientific testimony rests upon good grounds, based upon what is known, it should be

tested by the adversary process . . . .”). The Daubert test of reliability is “flexible” and “the law

grants a district court the same broad latitude when it decides how to determine reliability as it

enjoys with respect to its ultimate reliability determination.” Kumho, 526 U.S. at 141-42.

        Courts often use eight factors to assess an expert’s reliability and ensure that the expert’s

methodology is generally accepted in his field:

                (1) whether a method consists of a testable hypothesis; (2) whether the
                method has been subject to peer review; (3) the known or potential rate of


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                 error; (4) the existence and maintenance of standards controlling the
                 technique’s operation; (5) whether the method is generally accepted;
                 (6) the relationship of the technique to methods which have been
                 established to be reliable; (7) the qualifications of the expert witness
                 testifying based on the methodology; and (8) the non-judicial uses to
                 which the method has been put.

United States v. Mitchell, 365 F.3d 215, 235 (3d Cir. 2004). And, “[a]lthough Daubert does not

require a paradigm of scientific inquiry as a condition precedent to admitting expert testimony, it

does require more than [a] haphazard, intuitive inquiry.” Oddi, 234 F.3d at 156. Reliability

under Rule 702 requires more than an expert’s say-so. “[B]efore the gates to the courtroom will

be opened in this Circuit, a proposed expert must do more than simply say ‘let me in (because I

say so).’” Pappas, 136 F. Supp. 2d at 422; see also Soldo v. Sandoz Pharms. Corp., 244 F.

Supp. 2d 434, 527 (W.D. Pa. 2003) (quoting In re TMI Litig., 193 F.3d at 687) (“Something

doesn’t become ‘scientific knowledge’ just because it’s uttered by a scientist; nor can an expert’s

self-serving assertion that his conclusions were ‘derived by the scientific method’ be deemed

conclusive.”).

        Additionally, an expert must be “as careful as he would be in his regular professional

work outside his paid litigation consulting.” See Fed. R. Evid. 702, Advisory Committee Notes

to 2000 Amendment; see also Kumho Tire, 526 U.S. at 152 (the reliability factor “is to make

certain that an expert . . . employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.”). Thus, courts routinely grant

Daubert motions and exclude proffered experts when they fail to establish the methodology

followed in the litigation was generally accepted in the field. See, e.g., Dearson v. Bostrom

Seating, Inc., 241 F. Supp. 2d 494, 499 (E.D. Pa. 2003) (granting Daubert motion; “There is in

fact no evidence that Messrs. Davis and Suckey’s methods have ever been used before by

anyone, in either a judicial or non-judicial setting.”).


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        C. Fit

        Third, expert testimony must “assist the trier of fact to understand the evidence or to

determine a fact in issue.” Fed. R. Evid. 702. The trial judge must “ensure the expert’s

testimony is ‘sufficiently tied to the facts of the case,’ so that it ‘fits’ the dispute and will assist

the trier of fact.” UGI Sunbury, 949 F.3d at 832.

        The requirement of “fit” means “the expert’s testimony must be relevant for the purposes

of the case and must assist the trier of fact.” Schneider, 320 F.3d at 404. “[E]ven if an expert’s

proposed testimony constitutes scientific knowledge, his or her testimony will be excluded if it is

not scientific knowledge for the purposes of the case.” UGI Sunbury, 949 F.3d at 832 (citing

Paoli, 35 F.3d at 743). “This condition goes primarily to relevance. Expert testimony which

does not relate to any issue in the case is not relevant and, ergo, non-helpful.” Daubert, 509 U.S.

at 591. Thus, “there is no fit . . . when an expert offers animal studies showing one type of

cancer in mice to establish causation of another type of cancer in humans.” Soldo, 244 F. Supp.

2d at 527 (citing General Electric Co. v. Joiner, 522 U.S. 136 (1997)).

        In UGI Sunbury, the Court held that proposed expert testimony would not assist the trier

of fact and failed the “fit” requirement because the expert’s report contained “leaps of logic,

elements of subjectivity, and even speculation …” and was “‘the beginning of a discussion and

not the end.’” 949 F.3d at 835-36. When an expert’s opinions are subjective and speculative,

they do not assist the trier of fact in understand the evidence or determining the facts. Id.; Fed.

R. Evid. 702.




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IV.     ARGUMENT

         The Court should exclude the expert opinions and testimony of Hubert Worrell, Craig

Hofmeister, John Galassini, and Sean Kruskol because they fail to satisfy Rule 702’s

requirements of reliable and relevant testimony.

         A.       Hubert Worrell Fails to Meet All Three Daubert Requirements.

         Mr. Worrell was retained by CHS to analyze the expert opinions and remediation

recommendations of Jensen Hughes set forth in the expert report of Arthur Parker. In his report,

Mr. Worrell rejects Mr. Parker’s opinion that that the existing SFRM in place at Pottstown

Hospital is deficient, or to the extent that it is deficient, that it must be stripped out and wholly

replaced. [Worrell Report, attached as Exhibit A, at 2-4].2 Instead, Mr. Worrell recommends

that appropriate remediation can occur through saturating existing SFRM with a bond seal

adhesive and applying additional layers of SFRM over the existing or deficient areas, or by

patching. [Id. at 4-5]. Mr. Worrell provides a proposal containing his opinion regarding the cost

of remediating the fireproofing at Pottstown Hospital. [Id. at 5, 30].

              1. Mr. Worrell Lacks the Relevant Qualifications.

         Mr. Worrell is a Fireproofing Senior Consultant for Charlie Irwin Painting, LLC, and

purportedly has 30 years of experience completing fireproofing renovation projects. [CHS

Expert Disclosure, attached as Exhibit B]. According to Mr. Worrell, he has over 30 years of

“hands-on fireproofing experience” and has been “involved in many projects that involve

fireproof remediation.” [Ex. A at 1].

         However, Mr. Worrell’s experience with fireproofing is limited to physically applying

SFRM based on the specifications and recommendations of architects, engineers, and general


2
 Mr. Worrell’s expert report is not paginated. All references to pagination in this brief are made in the order the
pages appear in the report.

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contractors. By his own admission, Mr. Worrell does not personally determine the scope or

method of the remediation—rather, he follows the recommendations of others because he lacks

experience assessing the severity of SFRM deficiencies or developing plans to remediate SFRM

deficiencies in accordance with applicable code requirements.

       For instance, Mr. Worrell testified under oath that he has never performed testing in

accordance with the standards set forth by the American Society for Testing and Materials

(“ASTM”), the industry-wide guidelines for methodology used while testing SFRM, as Jensen

Hughes did in this case in preparing its opinion. [Worrell Dep. Tr., attached as Exhibit C, at

32:19 – 33:22]. Instead, Mr. Worrell’s experience lies in physically performing the remediation

work determined by experts like Mr. Parker. Critically, Mr. Worrell admits he would need to

“work with a general contractor,” such as Jensen Hughes, to develop a plan for him to perform

whatever remediation was ultimately necessary. [Ex. A at 4]. Mr. Worrell also testified that he

would need to rely extensively on an architect to determine proper testing parameters and the

scope of necessary remediation. [Ex. C at 85:8 – 87:10; see also id. at 41:6 – 43:1].

       Mr. Worrell also lacks any educational experience related to fire protection engineering

or scientific based testing requirements. Mr. Worrell pursued a degree in History/Philosophy at

Vanderbilt University from 1970 to 1974 but did not complete his degree. [Ex. A at 27; Ex. C at

19:8-11]. Additionally, Mr. Worrell offered his opinions after spending only 40 total hours on

this matter between July 2020 and his February 2, 2021 deposition. [Ex. C at 10:19 – 11:13

($8,000 at $200 per hour)].

       In summary, Mr. Worrell’s testimony illustrates that he has no specialized knowledge

concerning how to review and analyze a building for fireproofing deficiencies or how to develop

a plan to remediate such deficiencies. Rather, he relies on others, such as Jensen Hughes and



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architects, to determine the appropriate plan of remediation. Here, that was done by an expert

with appropriate qualifications and experience—Jensen Hughes, not Mr. Worrell. Therefore, as

the focus of his report is Jensen Hughes’ own investigation and analysis of Pottstown Hospital,

an area in which Jensen Hughes is undoubtedly experienced and highly knowledgeable, the

Court cannot find Mr. Worrell qualified to render the opinions set forth in his report. See

Betterbox, 300 F.3d at 335. Thus, the Court can preclude Mr. Worrell from testifying at trial on

this basis alone.

            2. Mr. Worrell’s Opinion Lacks Reliability.

        In addition to Mr. Worrell’s lack of qualifications to provide expert testimony concerning

the areas discussed in his report, his opinions are purely subjective and speculative. Mr. Worrell

has provided no legitimate basis for his opinions and fails to substantiate his “methodology.”

Mr. Worrell’s opinions cannot be considered reliable because they are purely subjective and are

not based on the “methods and procedures of science.” See Paoli, 35 F.3d at 742.

        First, Mr. Worrell admitted that his process in this matter did not meet the standards he

would utilize in making a recommendation of this type in his regular work outside of litigation.

Part of the Court’s gatekeeping function is to “make certain that an expert, whether basing

testimony upon professional studies or personal experience, employs in the courtroom the

practice of an expert in the relevant field.” Kumho Tire, 526 U.S. at 152; Soldo, 244 F. Supp. 2d

at 527; Dearson, 241 F. Supp. 2d at 499 (excluding experts because their methods had never

been used before in a judicial or non-judicial setting); see also In re TMI Litig., 193 F.3d at 703

n.144 (“[I]t is impossible to test a hypothesis generated by a subjective methodology because the

only person capable of testing or falsifying the hypothesis is the creator of the methodology.”);

Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995) (important factor in



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assessing reliability is “whether the experts are proposing to testify about matters growing

naturally and directly out of research they have conducted independent of the litigation, or

whether they have developed their opinions expressly for purposes of testifying.”).

       When describing the steps he would take in a similar matter outside of the context of

being a litigation expert, Mr. Worrell explained that he would begin a project by visiting the site.

[Ex. C at 21:13 – 22:13]. Yet Mr. Worrell never conducted a site-visit to Pottstown Hospital.

[Id. at 43:3-5, 45:4-15 (testifying when he asked whether he could visit the facility, CHS said “at

this time it wasn’t important.”)]. Mr. Worrell testified under oath that he had never issued a

remediation proposal to a client without first visiting the facility. [Id. at 44:25 – 45:3]. Neither

Mr. Worrell nor CHS has established that a proper fireproofing remediation analysis can be

performed without an on-site inspection of the facility.

       Second, Mr. Worrell testified that he relied on testing conducted by Jensen Hughes in

forming his opinions. Mr. Worrell did so despite not being present for any of these tests and not

conducting a single test at the facility. [Id. at 43:3 – 44:24, 63:24 – 65:18 (testifying he did not

know how Jensen Hughes selected the spots to test and that he had no reason to believe Jensen

Hughes did not follow generally accepted testing parameters and procedures when Jensen

Hughes performed its bond strength testing]. In Dearson v. Bostrom Seating, Inc., another court

in this District found that the proffered experts were not reliable when they were not present for

part or all of the testing which their testimony relies. 241 F. Supp. 2d at 498-99.

       Third, Mr. Worrell’s techniques ignore the very methods utilized by Mr. Parker, which

have been established to be reliable. For instance, many of Mr. Worrell’s criticisms of

Mr. Parker’s report and his own proposed remediation are based on directions provided by the

supposed manufacturer of the existing SFRM, Isolatek. [Ex. A at 2–4]. However, Mr. Worrell



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fails to provide any reasoning why this method is preferred over the remediation

recommendations in Mr. Parker’s report. In fact, Mr. Worrell testified under oath that he is not

certain his plan to fix the SFRM would result in a UL Design-sanctioned fireproofing assembly,

which is necessary to achieve the required hourly fire resistive rating. [Ex. C at 48:9 – 55:22].

In selecting his own method, Mr. Worrell ignores the industry established standards applied by

Mr. Parker.

       Next, Mr. Worrell’s opinions are wrought with subjectivity and speculation and lack any

scientific basis. Mr. Worrell testified that he did not know how well his remediation would work

“until you sprayed the BOND-SEAL and then do the testing to see if it works . . . .” [Id. at 47:6-

11; see also id. at 48:1-8 (agreeing he “can’t have any confidence in the degree of adhesion,

without going to Pottstown, on the primed steel”)]. In other words, Mr. Worrell’s entire plan for

remediating the deficient fireproofing at Pottstown Hospital is dependent upon the success of

tests that he has not yet performed. When asked how he knows this would work, Mr. Worrell

testified that he just does because of his 30 years of experience. [Id. at 44:22-24].

       Mr. Worrell’s opinions clearly fail to meet several of the Third Circuit’s eight factors.

Mr. Worrell has not established a testable hypothesis or that his methods have been subject to

peer review and are generally accepted. Further, not only is the rate of error unknown, it is

impossible to know until the SFRM is sprayed. Finally, he has not shown why his method is

superior (or even comparable) to any other method, including that of Jensen Hughes. See

Mitchell, 365 F.3d at 235. Instead, Mr. Worrell asks the Court to accept his opinion based solely

on his “thirty years’ experience” and his ipse dixit, a practice squarely rejected in the Third

Circuit as satisfying the reliability prong. See Oddi, 234 F.3d at 156, 158 (district court properly

excluded expert as not sufficiently reliable); Furlan, 864 F. Supp. 2d at 298-99 (E.D. Pa. 2012)



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(granting Daubert motion for expert’s lack of reliability and failure to set forth a valid

methodology); Pappas, 136 F. Supp. 2d at 426 (W.D. Pa. 2000) (excluding expert; “If Daubert

and its progeny require anything, it is that [the party] must come forward with proof of a valid

methodology based on more than just the ipse dixit of the expert.”); see also Daubert, 43 F.3d at

1319 (“Personal opinion, not science, is testifying here.”). Therefore, Mr. Worrell’s expert

opinions are not sufficiently reliable and should be precluded at trial.

            3. Mr. Worrell’s Opinion Is Not Relevant.

       Based on Mr. Worrell’s lack of qualifications concerning the subject of his opinion and

the unreliability of his analysis, his testimony is irrelevant to this case and would not aid the

Court in determining the appropriate process to remedy the severe SFRM deficiencies at

Pottstown Hospital. Mr. Worrell’s proffered testimony fails to meet the “fit” requirement and

the Court should preclude his testimony at trial. See Daubert, 509 U.S. at 591.

       B.       Craig Hofmeister’s Opinion Lacks Reliability and Is Not Relevant Because
                He Ignores Critical Evidence and Relies on Speculation.

       In his affirmative expert report and his rebuttal report, Craig Hofmeister provides

opinions regarding Pottstown Hospital’s compliance with NFPA 101, 2012 edition. As

explained below, Mr. Hofmeister should be precluded from testifying at trial because his

proffered testimony fails to meet the reliability and fit requirements.

       While Mr. Hofmeister appears to be qualified, he significantly misrepresents or

misunderstands the relevant code and/or facts underlying his opinions. These flaws go beyond

those that can be resolved through the ordinary “adversary process” or the fact-finder’s ability to

“weigh [their] inadequacies,” but instead make Mr. Hofmeister’s opinions entirely unhelpful and

irrelevant to the determination of issues of fact in this case. Paoli, 35 F.3d at 742.




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       First, Mr. Hofmeister claims that “a facility is in compliance with the

accreditation/licensure process until a re-licensure survey is conducted by either the [state

agency] or authorized deemed compliance entity (such as TJC) and deficiencies are noted.”

[Hofmeister Report, attached as Exhibit D, at 9–10]. Further, Mr. Hofmeister states that to his

knowledge, “the current CMS re-licensure process does not allow for self-reporting of

deficiencies related to NFPA 101 Life Safety Code compliance.” [Id. at 9].

       While Tower Health has no basis to basis to question Mr. Hofmeister’s personal

knowledge, it is patently false that the re-licensure process precludes healthcare facilities like

Pottstown Hospital from self-reporting code deficiencies to Authorities Having Jurisdiction, or

AHJs. Mr. Hofmeister’s opinion ignores important facts, such as CHS’s self-reporting of

deficiencies at other hospitals in Pennsylvania outside of the CMS re-licensure process. For

example, CHS-owned Sharon Hospital self-reported a construction type deficiency to DOH prior

to any licensure or accreditation survey. This voluntary reporting resulted in DOH preparing an

FSES for Sharon Hospital using the 2013 Edition of NFPA 101A. [Doc. No. 106-2, ¶¶ 47-52,

55]. Despite Mr. Hofmeister’s speculative opinion, nothing prevented CHS from self-reporting

deficiencies at Pottstown Hospital.

       Second, Mr. Hofmeister believes DOH “approved the FSES equivalencies, both as part of

the CMS accreditation/licensure process and as part of occupancy/renovation projects.” [Ex. D

at 8]. This statement is misleading and relies on a distorted interpretation of DOH surveys.

Mr. Hofmeister relies on DOH Occupancy Surveys for his opinion that DOH had determined

Pottstown Hospital was in compliance prior to October 1, 2017. In doing so, Mr. Hofmeister

ignores the fact that DOH Occupancy Surveys are limited to assessing whether a recently




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renovated portion of a hospital is suitable for occupancy.3 Mr. Hofmeister testified that he

understood the limited scope of DOH Occupancy Surveys, yet his opinions ignore this key

factual information. [Hofmeister Dep. Tr., attached hereto as Exhibit E, at 68:2 – 69:15].

           Third, Mr. Hofmeister contends that a Tentative Interim Amendment (“TIA”) for the

2013 edition of NFPA 101A “effectively allows Pottstown Hospital to be able to utilize an FSES

and establish equivalency with the requirements of the 2012 edition of the NFPA.” [Ex. D at 10-

11, 13]. TIAs are “amendments to an NFPA standard processed in accordance with Section 5 of

the Regulations Governing the Development of NFPA Standards…” that have not been subjected

to all of the procedures of the standards development process.4 NFPA (the National Fire

Protection Association) is a “codes and standards organization.”5 The codes and standards

published by NFPA do not have the force and effect of law until they are adopted by regulatory

agencies such as CMS and DOH. For example, CMS adopted NFPA 101, 2012 edition in 2016

rather than the most current edition at that time (NFPA 101, 2015 ed.).

           In August 2020, NFPA adopted TIA 1501, which tentatively changed the mandatory

values assigned to high rise hospitals on the 2013 FSES forms. The TIA was submitted by

CHS’s paid litigation expert, Wayne Carson, well after the lawsuit was filed and CHS denied

Tower Health’s indemnification demand.6 [Doc. No. 144-3, at 12-13]. In Mr. Hofmeister’s




3
 Pennsylvania Department of Health, Division of Safety Inspection, Definitions – OCCUPANCY SURVEY;
available at https://sais.health.pa.gov/CommonPOC/content/publiccommonpoc/divText/DSIdefinitions.htm (last
accessed on April 13, 2021).
4
 NFPA, Codes & Standards, Tentative Interim Amendments, Errata, and Formal Interpretations,
https://www.nfpa.org/Codes-and-Standards/Standards-development-process/How-the-process-works/TIAs-Errata-
and-FIs (last accessed on April 13, 2021).
5
    NFPA, NFPA Overview, https://www.nfpa.org/overview (last accessed on April 13, 2021).
6
 “Expert opinions generated as a result of litigation have less credibility than opinions generated as the result of
academic research or other forms of ‘pure’ research.” Soldo, 244 F. Supp. 2d at 527 (noting the importance of the
“expert’s motivation” for his opinion).

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opinion, the scoring changes in TIA 1501 means that Pottstown Hospital can obtain an FSES

equivalency.

       Mr. Hofmeister ignores that TIA 1501 was not adopted by NFPA until August 2020,

nearly three years after Tower Health purchased Pottstown Hospital. Additionally,

Mr. Hofmeister’s opinion is based on the assumption that Pottstown Hospital would be able to

use the FSES forms as amended by TIA 1501 to obtain an equivalency. [Ex. D at 11

(acknowledging that Pottstown Hospital can only obtain an FSES using the values in the TIA)].

However, TIA 1501 has not been adopted by CMS, TJC, or DOH. Furthermore, the official

FSES form published by CMS—CMS-2786T—does not permit hospitals to utilize the

provisionally amended mandatory values set forth in TIA 1501.7

       These errors are fatal to Mr. Hofmeister’s report and render his proffered testimony

unreliable and diminish any value his opinions would provide to assist the Court in

understanding whether Pottstown Hospital can obtain a valid FSES. Therefore, the Court should

preclude his testimony at trial.

       C.       John Galassini’s Opinion Is Not Reliable and Irrelevant Because He Failed to
                Follow the Standard Methodology for Cost Estimates and Relies on
                Speculation.

       CHS designated John Galassini as a rebuttal expert witness to respond to the opinions of

Tower’s construction expert, Robert Miller. Mr. Galassini should be precluded from testifying at

trial because his proffered testimony fails both the reliability and fit requirements.

       First, Mr. Galassini offers a proposed remediation plan for Pottstown Hospital and opines

that it will result in Pottstown Hospital meeting code requirements. [Galassini Report, attached

as Exhibit F, at 1]. To be compliant, Pottstown Hospital must meet the fire and life safety


7
 A copy of the CMS FSES form is available at https://www.cms.gov/Medicare/CMS-Forms/CMS-
Forms/Downloads/CMS2786T.pdf (last accessed on April 13, 2021).

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requirements of the NFPA Life Safety Code. [Ex. D at 8]. Mr. Galassini admitted that he relies

on other experts, such as architects and engineers, to determine whether a project he is working

on complies with NFPA regulations. [Galassini Dep. Tr., attached as Exhibit G, at 112:16 –

113:7]. Yet Mr. Galassini offered this opinion without consulting a single architect or engineer

to confirm that his plans would even result in a compliant hospital.

       Second, Mr. Galassini bases his cost estimate on the assumption that Pottstown Hospital

would not be required to bring the areas requiring SFRM remediation up to current codes. [Ex. F

at 1]. Mr. Galassini testified that he does not have an opinion regarding whether this is feasible

and that it would be up to an architect to determine whether parts of the hospital facility would

need to be brought up to current code. [Ex. G at 69:8 – 70:22]. Mr. Galassini is not an architect,

nor did he engage an architect to support his premise. Even worse, Mr. Galassini ignored the

expert opinions of Brian Tracy—an experienced healthcare architect in Pennsylvania with

decades of experience answering this very question. Thus, Mr. Galassini fails to follow what he

admits is the standard methodology for developing construction cost estimates outside of

litigation, thereby undercutting any reliability of his opinions. Kumho Tire, 526 U.S. at 152;

Dearson, 241 F. Supp. 2d at 499; see also In re TMI Litig., 193 F.3d at 703 n.144.

       Third, Galassini’s cost estimate also assumes that “the existing top track and studs will

remain in place.” [Ex. F at 25]. Mr. Galassini relies on this method as a means of reducing the

amount of hard construction work necessary to obtain sufficient access to the building’s

structural members so the SFRM can be remediated. Mr. Galassini relies on this assumption

despite not having determined that it is feasible. Mr. Galassini testified that he would need to

review this method with the Department of Health and local code officials, [Ex. G at 79:18 –

80:10], yet he failed to do either prior to offering his opinions. Mr. Galassini also admitted he



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has no experience employing this approach with DOH. [Id. at 47:19 – 48:18]. Furthermore,

Galassini’s proposed method is inherently speculative because, according to his expert report, “a

UL-tested assembly or engineering judgment will be needed to confirm this approach for

implementation.” [Ex. F at 25; Ex. G at 80:11-20]. Mr. Galassini’s opinions are unreliable

because he failed to make these essential determinations.

       Last, Mr. Galassini bases his opinion entirely on Mr. Worrell’s conclusions that the

SFRM can be patched at Pottstown Hospital, rather than the remediation determined by Jensen

Hughes. [Ex. G at 28:4 – 29:5, 40:7-19, 45:2-20]. To the extent the Court agrees that

Mr. Worrell’s opinions should be excluded at trial, then Mr. Galassini’s cost estimates based on

Mr. Worrell’s scope of work should likewise be excluded.

       Mr. Galassini’s opinions and proffered testimony are unreliable because they are based

on “subjective belief or unsupported speculation.” Paoli, 35 F.3d at 742. Mr. Galassini likewise

fails the “fit” requirement due to the “leaps of logic, elements of subjectivity, and even

speculation” in his opinions. UGI Sunbury, 949 F.3d at 835-36. Mr. Galassini’s opinions are a

perfect example of “the beginning of a discussion and not the end,” a characteristic of

unreliability condemned by the Third Circuit in UGI Sunbury. Id. For these reasons, Mr.

Galassini should be precluded from testifying at trial.

       D.       Sean Kruskol’s Opinion Is Irrelevant Because He Addresses the Wrong
                Financial Statements.

       In a typical straw-man argument, CHS served a rebuttal report from Sean Kruskol to

ostensibly address the opinion of Mr. Pocalyko. Mr. Kruskol spends a great deal of time

analyzing the financial statements of defendant CHS/Community Health Systems, Inc.’s parent

company, CHSI, and then concluding CHS’s financial statements were prepared in accordance

with GAAP. [Kruskol Report, attached hereto as Exhibit H, ¶¶ 12–19, 67–119]. But


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Mr. Kruskol’s opinion has zero relevance to whether or not CHS breached Section 3.4 of the

APA, which deals with the financial statements of Pottstown Hospital. Therefore, his opinion is

not helpful to the Court and should be excluded.

       As promised in Section 3.4 of the APA, CHS provided to Tower Health historical

unaudited balance sheets and income statements (defined as the “Financial Statements”) for

each of the acquired hospitals, including Pottstown Hospital. [Doc. No. 19-1, § 3.4]. CHS

represented that the Financial Statements of Pottstown Hospital, except as set forth in

Schedule 3.4, “have been prepared in accordance with GAAP,” and further represented that the

“Balance Sheets present fairly in all material respects . . . the financial condition of [Pottstown

Hospital] as of the dates indicated thereon, and such Income Statements present fairly in all

material respects . . . the results of operations of [Pottstown Hospital] for the periods indicated

thereon.” [Id.]

       CHS separately represented to Tower Health: “Except as disclosed on Schedule 3.4, no

Seller Entity or Acquired Company has any material liabilities of any nature (whether accrued,

absolute, contingent or otherwise) that are of a type required to be disclosed or reflected in

financial statements . . . in accordance with GAAP except for (i) liabilities reflected or reserved

against in the Financial Statements, and (ii) liabilities incurred in the ordinary course of business

since [March 31, 2017].” [Id.]

       Thus, the APA is clear and unambiguous: CHS represented and warranted the financial

statements of each of the hospitals Tower Health purchased were prepared in accordance with

GAAP and fairly presented the hospitals’ respective financial condition. Section 3.4 does not

address the financial statements of CHSI in any way. And why would it? Tower Health wanted




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to make sure the financial condition of the hospitals it was buying, including Pottstown Hospital,

was as described and promised.

       Tower Health’s financial accounting expert, Paul Pocalyko, reviewed the Pottstown

Hospital Financial Statements provided to Tower Health. He opined within a reasonable degree

of professional certainty that “the financial information provided to Plaintiffs pursuant to the

APA violated disclosure and recognition requirements under Financial Accounting Standards

Board (‘FASB’) accounting standards that follow GAAP and did not present fairly in all material

respects the financial condition of the hospitals.” He identified two “primary deficiencies”

present in those Financial Statements: CHS’s “failure to disclose contingent liabilities related to

the lack of compliance with current Life Safety Code (‘LSC’) requirements, among other

deficiencies” and the “failure to disclose increases to contractual allowances and allowances for

bad debts (and the corresponding decrease in net patient revenue) based on established

accounting pronouncements.” Mr. Pocalyko further noted that both deficiencies were not in

accordance with GAAP, as required by Section 3.4.

       In his report, Mr. Kruskol never addresses the Pottstown Hospital financial statements.

Instead, he bases his opinion solely on reviewing the financial statements of CHSI. The

financial statements of CHSI are not at issue in this case. Accordingly, Mr. Kruskol’s opinions

that the CHSI financial statements were prepared in accordance with GAAP and that CHSI

maintained appropriate “processes, controls, and certifications/approvals” is irrelevant,

misleading, and unhelpful to the trier of fact. [Ex. H, ¶¶ 12–19, 67–119].

       Because Mr. Kruskol’s testimony does not relate to any issue in this case, Daubert, 509

U.S. at 591; Paoli, 35 F.3d at 742-43, and will not assist the Court in deciding if the Pottstown




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Hospital financial statements breached CHS’s representations and warranties in the APA,

Schneider, 320 F.3d at 404, Mr. Kruskol should be precluded from testifying at trial.

V.    CONCLUSION

       CHS’s experts Hubert Worrell, Craig Hofmeister, John Galassini, and Sean Kruskol

should be precluded from presenting testimony and opinions at the trial in this case because their

opinions do not conform to the qualifications, reliability, and fit requirements of Federal Rule of

Evidence 702.

                                              STEVENS & LEE


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